           Case 1:21-cr-00128-RC Document 113 Filed 05/11/23 Page 1 of 3




                            UNITED STATES DISTRICT COURT FOR
                                THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                                     Case No.: 1:21-cr-00128-RC

              v.


WILLIAM ALEXANDER POPE,

                          Defendant .




    MOTION TO COMPEL THE GOVERNMENT TO INVENTORY
     AND PRODUCE ALL CAPITOL POLICE CCTV FOOTAGE



        This week I have reviewed Capitol Police footage possessed by the House Administration

Committee. The House Administration Committee has archived footage from more than 1700

cameras during the eleven-day period from December 28, 2020 to January 7, 2021.1

        These cameras are from throughout the Capitol Complex in Washington D.C., and

include video from inside and outside the Capitol, the Capitol Visitor Center, the House and

Senate office buildings, and the underground tunnels.2 While eleven days of archived CCTV

should in theory contain nearly half a million hours of footage, video files are missing from

many of these cameras, including cameras the Congressional access terminals have mapped as

being in key locations on Capitol grounds. Many of these missing cameras are highly relevant to

January 6 cases, including my own.



1
  The archived footage also includes a few minutes before midnight on December 27, 2020, and extends to 12 a.m.
on January 8, 2021, but the bulk of the archive was captured between December 28, 2020, and January 7, 2021.
2
  What Congress possess is vastly different than what DiBiase swore he had given to Congress in ECF No. 88-1.
           Case 1:21-cr-00128-RC Document 113 Filed 05/11/23 Page 2 of 3




        While the government has produced only 650 cameras in January 6 discovery compared

to the more than 1700 archived cameras possessed by Congress, strangely the government has

actually produced some cameras in discovery that Capitol Police has not given Congress.

        Why Capitol Police has given cameras to the FBI that have been withheld from Congress,

I do not know. Congress should investigate that.3 But in the context of this and every other

January 6 case, the government has a Brady obligation to produce to defendants relevant cameras

from the Capitol Complex.

        Because of these strange discrepancies between the two CCTV collections, I must move

the court to compel the government to conduct a full inventory of all Capitol Police CCTV they

have possessed, and to produce it in discovery.

        Respectfully submitted to the court.




                                                           By: William Pope

                                                               /s/

                                                           William Pope
                                                           Pro Se Officer of the Court
                                                           Topeka, Kansas




3
 Congress would also be wise to investigate why many important cameras from Capitol grounds are missing
footage from the hours of 2 p.m. until past 6 p.m. on January 6.
       Case 1:21-cr-00128-RC Document 113 Filed 05/11/23 Page 3 of 3




                                      Certificate of Service
I certify that a copy of this was filed electronically for all parties of record on May 11, 2023.

                                            /s/
                               William Alexander Pope, Pro Se
